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                 EXHIBIT “D”
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                                                                                                             Filed
                                                                                           1/21/2015 10:52:38 AM
                                                                                                Esther Degollado
                                                                                                    District Clerk
                                                                                                    Webb District
                                                                                              2015CVF000217D4
                               CAUSE NO.

 R O B E R T O MARTINEZ,                       §              IN T H E DISTRICT COURT O F
         Plaintiff,                            §
                                               §
 v.                                            §                        WEBB COUNTY, T E X A S
                                               §
 ASI L L O Y D S , SHANON WATSON,              §
 AND ADAM ANDERSON,                            §
        Defendants.                            §                          JUDICIAL D I S T R I C T


                           PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Roberto Martinez ("Plaintiff'), and files this Plaintiff's Original Petition,

complaining of ASI Lloyds ("ASI"), Shanon Watson ("Watson"), and Adam Anderson

("Anderson") (to whom will be collectively referred as "Defendants"), and for cause of action,

Plaintiff would respectfully show this Honorable Court the following:

                              D I S C O V E R Y CONTROL PLAN

1.     Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas

       Rules of Civil Procedure. This case involves complex issues and will require extensive

       discovery. Therefore, Plaintiff will ask the Court to order that discovery be conducted in

       accordance with a discovery control plan tailored to the particular circumstances of this

       suit.

                                          PARTIES

2.     Plaintiff Roberto Martinez is an individual residing in Webb County, Texas.

3.     Defendant ASI is an insurance company engaging in the business of insurance in the

       State of Texas. This defendant may be served with personal process, by a process server,
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       by serving its Attorney for Service, Rodney D. Bucker, 700 North Pearl Street, 25th

       Floor, Dallas, Texas 75201-2825.

4.     Defendant Shanon Watson is an individual residing in and domiciled in the State of

       Texas. This defendant may be served with personal process by a process server at his

       place of residence at 4215 Loop 343, Rusk, Texas 75785.

5.     Defendant Adam Anderson is an individual residing in and domiciled in the State of

       Florida. This defendant may be served with personal process by a process server at his

      place of residence at 2749 Northridge Dr. E., Clearwater, Florida 33761.

                                        JURISDICTION

6.     The Court has jurisdiction over this cause of action because the amount in controversy is

      within the jurisdictional limits of the Court. Plaintiff is seeking monetary relief over

       $200,000 but not more than $1,000,000. Plaintiff reserves the right to amend his petition

       during and/or after the discovery process.

7.    The Court has jurisdiction over Defendant ASI because this defendant is a domestic

      insurance company that engages in the business of insurance in the State of Texas, and

      Plaintiffs causes of action arise out of this defendant's business activities in the State of

      Texas.

8.    The Court has jurisdiction over Defendant Watson because this defendant engages in the

      business of adjusting insurance claims in the State of Texas, and Plaintiffs causes of

      action arise out of this defendant's business activities in the State of Texas.

9.    The Court has jurisdiction over Defendant Anderson because this defendant engages in

      the business of adjusting insurance claims in the State of Texas, and Plaintiffs causes of

      action arise out of this defendant's business activities in the State of Texas.


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                                             VENUE

10.    Venue is proper in Webb County, Texas, because the insured property is situated in

       Webb County, Texas. TEX. CIV. PRAC. & REM. CODE §15.032.

                                             FACTS

11.    Plaintiff is the owners of a Texas Homeowners' Insurance Policy (hereinafter referred to

       as "the Policy"), which was issued by ASI.

12.    Plaintiff owns the insured property, which is specifically located at 105 Georgia St.,

       Laredo, Texas 78041, in Webb County (hereinafter referred to as "the Property").

13.    ASI sold the Policy insuring the Property to Plaintiff.

14.    On or about May 9, 2014, a hail storm and/or windstorm struck Webb County, Texas,

       causing severe damage to homes and businesses throughout the area, including Plaintiffs

       residence. Specifically, Plaintiffs roof sustained extensive damage during the storm.

       Water intrusion through the roof caused significant damage throughout the entire home

       and garage including, but not limited to, the home's ceilings, walls, insulation, and

       flooring.   Plaintiffs home also sustained substantial structural and exterior damage

       during the storm. After the storm, Plaintiff filed a claim with his insurance company,

       ASI, for the damages to his home caused by the hail storm and/or windstorm.

15.    Plaintiff submitted a claim to ASI against the Policy for Roof Damage, Structural

       Damage, Water Damage, and Wind Damage the Property sustained as a result of the hail

       storm and/or windstorm.

16.    Plaintiff asked that ASI cover the cost of repairs to the Property pursuant to the Policy,

       including but not limited to, repair and/or replacement of the roof and repair of the

       interior water damages to the Property, pursuant to the Policy.


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17.     Defendant ASI assigned Defendant Watson and Defendant Anderson as the individual

        adjusters on the claim. The adjuster assigned to Plaintiffs claim was improperly trained

        and failed to perform a thorough investigation of Plaintiffs claim. Watson conducted a

        substandard inspection of Plaintiffs property. For example, Watson spent forty (40)

       minutes inspecting Plaintiffs entire Property for damages. Watson both underestimated

        and undervalued the cost of repairs to the damaged items that he did include in the

        estimate. Ultimately, Watson's estimate did not allow adequate funds to cover the cost of

       repairs to all the damages sustained, which failed to include all of Plaintiffs damages

       noted upon inspection. Watson's inadequate investigation of the claim was relied upon

       by the other Defendants in this action and resulted in Plaintiffs' claim being undervalued

        and underpaid.

18.    Defendant Anderson also actively participated in the investigation of Plaintiffs claim.

        Specifically, he corresponded with Plaintiff regarding his claim in letters, communicated

       with Plaintiff by telephone regarding the claim, and/or reviewed reports, documents and

       information regarding the claim.     Defendant Anderson failed to thoroughly review

       Watson assessment of the claim and ultimately approved and/ or submitted and

       inaccurate report of the damages.

19.    Together, Defendants ASI, Watson, and Anderson set about to deny and/or underpay on

       properly covered damages. As a result of these Defendants' unreasonable investigation

       of the claim, including not providing full coverage for the damages sustained by Plaintiff,

       as well as under-scoping the damages during their investigation and thus denying

       adequate and sufficient payment to Plaintiff to repair his home, Plaintiffs claim was

       improperly adjusted. The mishandling of Plaintiffs claim has also caused a delay in his


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        ability to fully repair his home, which has resulted in additional damages. To this date,

        Plaintiff has yet to receive the full payment to which his is entitled under the Policy.

20.     As detailed in the paragraphs below, ASI wrongfully denied Plaintiffs claim for repairs

        of the Property, even though the Policy provided coverage for losses such as those

        suffered by Plaintiff. Furthermore, ASI underpaid some of Plaintiffs claims by not

       providing full coverage for the damages sustained by Plaintiff, as well as under-scoping

        the damages during its investigation.

21.     To date, ASI continues to delay in the payment for the damages to the property. As such,

        Plaintiff has not been paid in full for the damages to his home.

22.    Defendant ASI failed to perform its contractual duties to adequately compensate Plaintiff

       under the terms of the Policy. Specifically, it refused to pay the full proceeds of the

       Policy, although due demand was made for proceeds to be paid in an amount sufficient to

       cover the damaged property, and all conditions precedent to recovery upon the Policy had

       been carried out and accomplished by Plaintiff. ASI's conduct constitutes a breach of the

       insurance contract between ASI and Plaintiff.

23.    Defendants ASI, Watson, and Anderson misrepresented to Plaintiff that the damage to the

       Property was not covered under the Policy, even though the damage was caused by a

       covered occurrence. Defendants ASI's, Watson's and Anderson's conduct constitutes a

       violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

       §541.060(a)(1).

24.    Defendants ASI, Watson, and Anderson failed to make an attempt to settle Plaintiffs

       claim in a fair manner, although they were aware of their liability to Plaintiff under the

       Policy. Defendants ASI's, Watson's, and Anderson's conduct constitutes a violation of


                                                                                               Page 5
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       the   Texas    Insurance   Code,   Unfair   Settlement    Practices.    TEX.   INS.   CODE


        §541.060(a)(2)(A).

25.    Defendants ASI, Watson, and Anderson failed to explain to Plaintiff the reasons for their

       offer of an inadequate settlement. Specifically, Defendants ASI, Watson, and Anderson

       failed to offer Plaintiff adequate compensation, without any explanation why full

       payment was not being made. Furthermore, Defendants ASI, Watson, and Anderson did

       not communicate that any future settlements or payments would be forthcoming to pay

       for the entire losses covered under the Policy, nor did they provide any explanation for

       the failure to adequately settle Plaintiffs claim.       Defendants ASI's, Watson's, and

       Anderson's conduct is a violation of the Texas Insurance Code, Unfair Settlement

       Practices. TEX. INS. CODE §541.060(a)(3).

26.    Defendants ASI, Watson, and Anderson failed to affirm or deny coverage of Plaintiffs

       claim within a reasonable time. Specifically, Plaintiff did not receive timely indication of

       acceptance or rejection, regarding the full and entire claim, in writing from Defendants

       ASI, Watson, and Anderson. Defendants ASI's, Watson's, and Anderson's conduct

       constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

       INS. CODE   §541.060(a)(4).

27.    Defendants ASI, Watson, and Anderson refused to fully compensate Plaintiff, under the

       terms of the Policy, even though Defendants ASI, Watson, and Anderson failed to

       conduct a reasonable investigation. Specifically, Defendants ASI, Watson, and Anderson

       performed an outcome-oriented investigation of Plaintiffs claim, which resulted in a

       biased, unfair, and inequitable evaluation of Plaintiffs losses on the Property.




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        Defendants ASI's, Watson's, and Anderson's conduct constitutes a violation of the Texas

        Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(7).

28.     Defendant ASI failed to meet its obligations under the Texas Insurance Code regarding

        timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiffs claim,

        and requesting all information reasonably necessary to investigate Plaintiffs claim,

       within the statutorily mandated time of receiving notice of Plaintiffs claim.       ASI's

        conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.

        TEX. INS. CODE   §542.055.

29.    Defendant ASI failed to accept or deny Plaintiffs full and entire claim within the

        statutorily mandated time of receiving all necessary information.        ASI's conduct

        constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

       INS. CODE    §542.056.

30.    Defendant ASI failed to meet its obligations under the Texas Insurance Code regarding

       payment of claim without delay. Specifically, it has delayed full payment of Plaintiffs

       claim longer than allowed and, to date, Plaintiff has not received full payment for his

       claim.     ASI's conduct constitutes a violation of the Texas Insurance Code, Prompt

       Payment of Claims. TEX. INS. CODE §542.058.

31.    From and after the time Plaintiffs claim was presented to Defendant ASI, the liability of

       ASI to pay the full claim in accordance with the terms of the Policy was reasonably clear.

       However, ASI has refused to pay Plaintiff in full, despite there being no basis whatsoever

       on which a reasonable insurance company would have relied to deny the full payment.

       ASI's conduct constitutes a breach of the common law duty of good faith and fair

       dealing.


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32.     Defendants ASI, Watson, and Anderson knowingly or recklessly made false

       representations, as described above, as to material facts and/or knowingly concealed all

        or part of material information from Plaintiff.

33.    As a result of Defendants ASI's, Watson's, Anderson's wrongful acts and omissions,

       Plaintiff was forced to retain the professional services of the attorney and law firm who

       are representing him with respect to these causes of action.

34.    Plaintiffs experience is not an isolated case. The acts and omissions ASI committed in

       this case, or similar acts and omissions, occur with such frequency that they constitute a

       general business practice of ASI with regard to handling these types of claims. ASI's

       entire process is unfairly designed to reach favorable outcomes for the company at the

       expense of the policyholders.

                                      CAUSES O F ACTION:


                     CAUSES OF A C T I O N AGAINST WATSON AND ANDERSON


                       NONCOMPLIANCE WITH T E X A S INSURANCE C O D E :
                                UNFAIR S E T T L E M E N T P R A C T I C E S


35.    Defendant ASI assigned Defendant Watson and Anderson to adjust the claim.

       Defendants Watson and Anderson were improperly trained to handle claims of this nature

       and performed an unreasonable investigation of Plaintiffs damages.                  During the

       investigation, the adjusters failed to properly assess Plaintiffs hail storm and/or

       windstorm damages.      The adjusters also omitted covered damages from their reports,

       including many of Plaintiffs interior damages.                In addition, the damages that the

       adjusters did include in the estimate were severely underestimated.




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36.     Defendants Watson's and Anderson's conduct constitutes multiple violations of the

        Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). A l l

        violations under this article are made actionable by TEX. INS. CODE §541.151.

37.     Defendants Watson and Anderson are each individually liable for their unfair and

        deceptive acts, irrespective of the fact each was acting on behalf of ASI, because each is a

        "person" as defined by TEX. INS. CODE §541.002(2). The term "person" is defined as

        "any individual, corporation, association, partnership, reciprocal or interinsurance

        exchange, Lloyds plan, fraternal benefit society, or other legal entity engaged in the

        business of insurance, including an agent, broker, adjuster or life and health insurance

        counselor." TEX. INS. CODE §541.002(2) (emphasis added). (See also Liberty Mutual

        Insurance Co. v. Garrison Contractors, Inc., 966 S.W.2d 482, 484 (Tex. 1998) (holding

        an insurance company employee to be a "person" for the purpose of bringing a cause of

        action against him or her under the Texas Insurance Code and subjecting him or her to

        individual liability)).

38.     Falsehoods and misrepresentations may be communicated by actions as well as by the

        spoken word; therefore, deceptive conduct is equivalent to a verbal representation.

        Defendants' misrepresentations by means of deceptive conduct include, but are not

        limited to: (1) failing to conduct a reasonable inspection and investigation of Plaintiffs

        damages; (2) stating that Plaintiffs damages were less severe than they in fact were; (3)

        using their own statements about the non-severity of the damage as a basis for denying

        properly covered damages and/or underpaying damages; and (4) failing to provide an

        adequate explanation for the inadequate compensation Plaintiff received. Defendants

        Watson's and Anderson's unfair settlement practice, as described above and the example


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        given herein, of misrepresenting to Plaintiff material facts relating to the coverage at

        issue, constitutes an unfair method of competition and an unfair and deceptive act or

        practice in the business of insurance. TEX. INS. CODE §541.060(a)(1).

39.     Defendants Watson's and Anderson's unfair settlement practice, as described above, of

        failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the

        claim, even though liability under the Policy is reasonably clear, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEX. INS. CODE §541.060(a)(2)(A).

40.     Defendants Watson and Anderson failed to explain to Plaintiff the reasons for their offer

        of an inadequate settlement. Specifically, Defendants Watson and Anderson failed to

        offer Plaintiff adequate compensation without any explanation as to why full payment

        was not being made. Furthermore, Defendants did not communicate that any future

        settlements or payments would be forthcoming to pay for the entire losses covered under

        the Policy, nor did they provide any explanation for the failure to adequately settle

        Plaintiffs claim. The unfair settlement practice of Defendants Watson and Anderson as

        described above, of failing to promptly provide Plaintiff with a reasonable explanation of

        the basis in the Policy, in relation to the facts or applicable law, for the offer of a

        compromise settlement of Plaintiffs claim, constitutes an unfair method of competition

        and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

        §541.060(a)(3).

41.     Defendants Watson's and Anderson's unfair settlement practice, as described above, of

        failing within a reasonable time to affirm or deny coverage of the claim to Plaintiff, or to

        submit a reservation of rights to Plaintiff, constitutes an unfair method of competition and


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         an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

         §541.060(a)(4).

 42.     Defendants Watson and Anderson did not properly inspect the Property and failed to

         account for and/or undervalued many of Plaintiffs exterior and interior damages,

         although reported by Plaintiff to ASI. Defendants Watson's and Anderson's unfair

         settlement practice, as described above, of refusing to pay Plaintiffs claim without

         conducting a reasonable investigation, constitutes an unfair method of competition and an

         unfair and deceptive act or practice in the business of insurance.        TEX. INS. CODE


         §541.060(a)(7).

                           CAUSES OF A C T I O N A G A I N S T A L L DEFENDANTS


43.      Plaintiff is not making any claims for relief under federal law.

                                                 FRAUD


44.      Defendants ASI, Watson, and Anderson are liable to Plaintiff for common law fraud.

45.      Each and every one of the representations, as described above, concerned material facts

         for the reason that absent such representations, Plaintiff would not have acted as they did,

         and which Defendants ASI, Watson, and Anderson knew were false or made recklessly

         without any knowledge of their truth as a positive assertion.

46.      The statements were made with the intention that they should be acted upon by Plaintiff,

         who in turn acted in reliance upon the statements, thereby causing Plaintiff to suffer

         injury and constituting common law fraud.

                                  CONSPIRACY TO C O M M I T F R A U D


47.      Defendants ASI, Watson, and Anderson are liable to Plaintiff for conspiracy to commit

         fraud. Defendants ASI, Watson, and Anderson were members of a combination of two or


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        more persons whose object was to accomplish an unlawful purpose or a lawful purpose

        by unlawful means. In reaching a meeting of the minds regarding the course of action to

        be taken against Plaintiff, Defendants ASI, Watson, and Anderson committed an

        unlawful, overt act to further the object or course of action. Plaintiff suffered injury as a

        proximate result.

                             CAUSES OF ACTION AGAINST A S I ONLY


48.     Defendant ASI is liable to Plaintiff for intentional breach of contract, as well as

        intentional violations of the Texas Insurance Code, and intentional breach of the common

        law duty of good faith and fair dealing.

                                       B R E A C H OF C O N T R A C T


49.     Defendant ASI's conduct constitutes a breach of the insurance contract made between

        ASI and Plaintiff.

50.     Defendant ASI's failure and/or refusal, as described above, to pay the adequate

        compensation as it is obligated to do under the terms of the Policy in question, and under

        the laws of the State of Texas, constitutes a breach of ASI's insurance contract with

        Plaintiff.

                       NONCOMPLIANCE WITH T E X A S INSURANCE C O D E :
                                UNFAIR SETTLEMENT PRACTICES


51.     Defendant ASI's conduct constitutes multiple violations of the Texas Insurance Code,

        Unfair Settlement Practices.     TEX. INS. CODE        §541.060(a). All violations under this

        article are made actionable by TEX. INS. CODE §541.151.

52.     Defendant ASI's unfair settlement practice, as described above, of misrepresenting to

        Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of



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        competition and an unfair and deceptive act or practice in the business of insurance. TEX.

        INS. CODE   §541.060(a)(1).

53.     Defendant A S I ' s unfair settlement practice, as described above, of failing to attempt in

        good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

        A S I ' s liability under the Policy was reasonably clear, constitutes an unfair method of

        competition and an unfair and deceptive act or practice in the business of insurance. TEX.

        INS. CODE §541.060(a)(2)(A).


54.     Defendant A S I ' s unfair settlement practice, as described above, of failing to promptly

        provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the

        facts or applicable law, for its offer of a compromise settlement of the claim, constitutes

        an unfair method of competition and an unfair and deceptive act or practice in the

        business of insurance. TEX. INS. CODE §541.060(a)(3).

55.     Defendant A S I ' s unfair settlement practice, as described above, of failing within a

        reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a

        reservation of rights to Plaintiff, constitutes an unfair method of competition and an

        unfair and deceptive act or practice in the business of insurance.          TEX. INS. CODE


        §541.060(a)(4).

56.     Defendant A S I ' s unfair settlement practice, as described above, of refusing to pay

        Plaintiffs claim without conducting a reasonable investigation, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEX. INS. CODE §541.060(a)(7).

                       NONCOMPLIANCE WITH T E X A S INSURANCE C O D E :
                               T H E PROMPT PAYMENT OF C L A I M S




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57.     Defendant ASI's conduct constitutes multiple violations of the Texas Insurance Code,

        Prompt Payment of Claims. A l l violations made under this article are made actionable by

        TEX. INS. CODE   §542.060.

58.     Defendant ASI's failure to acknowledge receipt of Plaintiff's claim, commence

        investigation of the claim, and request from Plaintiff all items, statements, and forms that

        it reasonably believed would be required within the applicable time constraints, as

        described above, constitutes a non-prompt payment of claims and a violation of TEX. INS.

        CODE   §542.055.

59.     Defendant ASI's failure to notify Plaintiff in writing of its acceptance or rejection of the

        claim within the applicable time constraints, constitutes a non-prompt payment of the

        claim. TEX. INS. CODE §542.056.

60.     Defendant ASI's delay of the payment of Plaintiffs claim following its receipt of all

        items, statements, and forms reasonably requested and required, longer than the amount

        of time provided for, as described above, constitutes a non-prompt payment of the claim.

        TEX. INS. CODE   §542.058.

                            A C T S CONSTITUTING A C T I N G A S A G E N T


61.     As referenced and described above, and further conduct throughout this litigation and

        lawsuit, Watson and Anderson are agents of ASI based on their acts during the handling

        of this claim, including inspections, adjustments, and aiding in adjusting a loss for or on

        behalf of the insurer. TEX. INS. CODE §4001.051.

62.     Separately, and/or in the alternative, as referenced and described above, ASI ratified the

        actions and conduct of Watson and Anderson including the completion of their duties

        under the common law and statutory law.


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                     B R E A C H OF T H E D U T Y OF G O O D F A I T H AND F A I R D E A L I N G


63.     Defendant ASI's conduct constitutes a breach of the common law duty of good faith and

        fair dealing owed to insureds in insurance contracts.

64.     Defendant ASI's failure, as described above, to adequately and reasonably investigate

        and evaluate Plaintiffs claim, although, at that time, ASI knew or should have known by

        the exercise of reasonable diligence that its liability was reasonably clear, constitutes a

        breach of the duty of good faith and fair dealing.

                                               KNOWLEDGE


65.     Each of the acts described above, together and singularly, was done "knowingly," as that

        term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs

        damages described herein.

                                                  DAMAGES


66.     Plaintiff would show that all of the aforementioned acts, taken together or singularly,

        constitute the producing causes of the damages sustained by Plaintiff.

67.     As previously mentioned, the damages caused by the May 9, 2014 hail storm and/or

        windstorm have not been properly addressed or repaired in the months since the storm,

        causing further damages to the Property, and causing undue hardship and burden to

        Plaintiff.   These damages are a direct result of Defendants ASI's, Watson's, and

        Anderson's mishandling of Plaintiff s claim in violation of the laws set forth above.

68.     For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which is

        the amount of his claim, together with attorney's fees.

69.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

        is entitled to actual damages, which include the loss of the benefits that should have been


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        paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

        conduct of the acts described above, Plaintiff asks for three times his actual damages.

        TEX. INS. CODE     §541.152.

70.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

        entitled to the amount of his claim, as well as eighteen (18) percent interest per annum on

        the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

        §542.060.

71.     For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

        compensatory damages, including all forms of loss resulting from the insurer's breach of

        duty, such as additional costs, economic hardship^ losses due to nonpayment of the

        amount the insurer owed, exemplary damages, and damages for emotional distress.

72.     For fraud, Plaintiff is entitled to recover actual damages and exemplary damages for

        knowingly fraudulent and malicious representations, along with attorney's fees, interest,

        and court costs.

73.     For the prosecution and collection of this claim, Plaintiff has been compelled to engage

        the services of the attorney whose name is subscribed to this pleading. Therefore,

        Plaintiff is entitled to recover a sum for the reasonable and necessary services of

        Plaintiffs attorney in the preparation and trial of this action, including any appeals to the

        Court of Appeals and/or the Supreme Court of Texas.

                                        J U R Y DEMAND

74.     Plaintiff hereby requests that all causes of action alleged herein be tried before a jury

        consisting of citizens residing in Webb County, Texas.         Plaintiff hereby tenders the

        appropriate jury fee.


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                                   WRITTEN DISCOVERY


                                  R E Q U E S T S F O R DISCLOSURE


75.     Plaintiff's Request for Disclosure to Defendant ASI Lloyds is attached as "Exhibit A . "

        Plaintiff's Request for Disclosure to Defendant Shanon Watson is attached as "Exhibit A-

        1."   Plaintiff's Request for Disclosure to Defendant Adam Anderson is attached as

        "Exhibit A-2."

                                            PRAYER


        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

Plaintiff has and recovers such sums as would reasonably and justly compensate him in

accordance with the rules of law and procedure, as to actual damages, treble damages under the

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiff requests the award of attorney's fees for the trial and any appeal of this case, for all

costs of Court on his behalf expended, for prejudgment and postjudgment interest as allowed by

law, and for any other and further relief, either at law or in equity, to which he may show himself

justly entitled.

                                             Respectfully submitted,

                                             MOSTYN L A W FIRM




                                              /s/Rene M. Sisman
                                             Rene M . Sigman
                                             State Bar No. 24037492
                                             rmsdocketefile@mostynlaw. com
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                                             (713) 861-8084 (Facsimile)

                                             ATTORNEY FOR PLAINTIFF

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                                          "EXHIBIT A"

                                 CAUSE NO.

 R O B E R T O MARTINEZ,                         §              IN THE DISTRICT COURT O F
         Plaintiff,                              §
                                                 §
                                                 §                      WEBB COUNTY, TEXAS
                                                 §
 ASI L L O Y D S , SHANON WATSON,                §
 AND ADAM ANDERSON,                              §
        Defendants.                                                        JUDICIAL DISTRICT




             PLAINTIFF'S REQUEST F O R DISCLOSURE TO DEFENDANT
                                ASI L L O Y D S

TO:     DEFENDANT ASI LLOYDS, by and through its Registered Agent: Rodney D. Bucker,
        700 North Pearl Street, 25th Floor, Dallas, Texas 75201-2825.

        Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that the
above-named Defendant, ASI Lloyds (hereinafter referred to as "Defendant"), disclose, within
fifty-one (51) days after the date of service of this request, the information or material described
in Rule 194.2.


                                              Respectfully submitted,

                                              MOSTYN L A W F I R M



                                              Is/Rene M. Sieman
                                             Rene M . Sigman
                                             State Bar No. 24037492
                                             3810 W.Alabama Street
                                             Houston, Texas 77027
                                             (713) 861-6616 (Office)
                                             (713) 861-8084 (Facsimile)

                                             A T T O R N E Y FOR PLAINTIFF




                                                                                            Page 18
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                                       "EXHIBIT A - l "

                                CAUSE NO.

 R O B E R T O MARTINEZ,                                      IN THE DISTRICT COURT OF
         Plaintiff,
                                               §
                                               §                      WEBB COUNTY, TEXAS
                                               §
 ASI L L O Y D S , SHANON WATSON,              §
 AND ADAM ANDERSON,
        Defendants.                                                      JUDICIAL DISTRICT


             PLAINTIFF'S R E Q U E S T F O R DISCLOSURE TO DEFENDANT
                                  SHANON WATSON

TO:     DEFENDANT SHANON WATSON, at 4215 Loop 343, Rusk, Texas 75785.

       Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that the
above-named Defendant, Shanon Watson (hereinafter referred to as "Defendant"), disclose,
within fifty-one (51) days after the date of service of this request, the information or material
described in Rule 194.2.


                                            Respectfully submitted,

                                            MOSTYN LAW FIRM



                                             /s/ Rene M. Sigman
                                            Rene M . Sigman
                                            State Bar No. 24037492
                                            3810 W.Alabama Street
                                            Houston, Texas 77027
                                            (713) 861-6616 (Office)
                                            (713) 861-8084 (Facsimile)

                                            A T T O R N E Y F O R PLAINTIFF




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                                        "EXHIBIT A-2"

                                CAUSE NO.

 ROBERTO MARTINEZ,                             §              I N T H E DISTRICT COURT OF
     Plaintiff,                                §
                                               §
 v.                                            §                      WEBB COUNTY, TEXAS
                                               §
 ASI L L O Y D S , SHANON WATSON,              §
 AND ADAM ANDERSON,                            §
        Defendants.                            §                         JUDICIAL DISTRICT


             PLAINTIFF'S R E Q U E S T F O R DISCLOSURE TO DEFENDANT
                                  ADAM ANDERSON

TO:     DEFENDANT ADAM ANDERSON, at 2749 Northridge Dr. E , Clearwater, Florida
        33761.

       Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that the
above-named Defendant, Adam Anderson (hereinafter referred to as "Defendant"), disclose,
within fifty-one (51) days after the date of service of this request, the information or material
described in Rule 194.2.


                                            Respectfully submitted,

                                            MOSTYN L A W F I R M



                                             /s/Rene M. Sisman
                                            Rene M . Sigman
                                            State Bar No. 24037492
                                            3810 W.Alabama Street
                                            Houston, Texas 77027
                                            (713) 861-6616 (Office)
                                            (713) 861-8084 (Facsimile)

                                            ATTORNEY F O R PLAINTIFF




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